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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
 ______________________________________
 U.S. COMMODITY FUTURES TRADING §
 COMMISSION, et al.,                     §
                                         §
                    Plaintiffs,          §
                                         §
 v.                                      §
                                         §      CIVIL ACTION NO. 3:20-CV-2910-X
 TIME, INC. a/k/a METALS.COM, CHASE      §
 METALS, INC., CHASE METALS, LLC,        §
 BARRICK CAPITAL, INC., LUCAS            §
 THOMAS ERB a/k/a LUCAS ASHER a/k/a §
 LUKE ASHER, and SIMON BATASHVILI, §
                                         §
                    Defendants,          §
                                         §
 TOWER EQUITY, LLC,                      §
                                         §
                    Relief Defendant.    §
 ______________________________________

   DEFENDANTS LUCAS ASHER AND SIMON BATASHVILI’S REPLY IN SUPPORT
  OF OBJECTION TO THE ORDER OF THE UNITED STATES MAGISTRATE JUDGE

          Defendants Lucas Asher and Simon Batashvili (together, the “Individual Defendants”) file

 this Reply in Support of their Objection to the Order of the United States Magistrate Judge (Doc.

 846) (the “Objection”), and respectfully show the Court as follows:

                                        INTRODUCTION

          Plaintiffs—a unified group of 30 states behind the CFTC—have repeatedly taken

 advantage of the disparate power balance in this case to overwhelm, confuse, and misconstrue the

 issues before the Court. Plaintiffs’ response to the Objection is more of the same. (See Doc.

 853)(Plaintiffs’ “Response”). This Court should sustain the Objection and grant the Individual

 Defendants’ motion to compel (Doc. 707).



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        I.        The Individual Defendants Apply the Correct Standard — “Clearly Erroneous
                  and Contrary to Law.”

          The Objection states multiple times that the Magistrate Judge’s Order is “contrary to law”

 and “clearly erroneous.” (See Doc. 846 at 5, 6, 7). Still, Plaintiffs claim that the Individual

 Defendants “fail to cite any mistake of law or fact by the Magistrate Judge.” (Doc. 853 at 1). Not

 so. In fact, Plaintiffs’ characterization that the Objection is “rehashing their original unsuccessful

 arguments” is precisely the point. The Magistrate Judge’s Order got it wrong, and the Court should

 correct that clear error.

       II.        The Magistrate Judge Committed Clear Error by Allowing Plaintiffs to Withhold
                  Underlying Facts of the Dispute.

          The Individual Defendants never requested the Plaintiffs produce opinion work product.

 (See Doc. 707). The Individual Defendants only seek to discover the underlying facts of this

 dispute. (See Doc. 707) (“Much of the information withheld by the Plaintiffs contains the factual

 statements of alleged customers . . . [t]hose materials are fact work product.”) (emphasis in

 original). “Those materials” referred to the “factual statements of alleged customers,” and such

 underlying facts are not protected by the work product privilege. SEC v. Brady, 238 F.R.D. 429,

 443 (N.D. Tex. 2006) (“work product immunity only protects the documents and not the

 underlying facts”).

          Accordingly, the Magistrate Judge’s finding that the customers’ factual statements are

 opinion work product is clearly erroneous and contrary to law. (See also Doc. 846 at 5).

     III.         The Magistrate Judge’s Order Improperly Considered Documents Outside those
                  the Individual Defendants Seek in Arriving to its Conclusions.

          As the Plaintiffs’ parade in their Response, the Magistrate Judge’s Order included findings

 that “the information sought for discovery in all eleven categories was prepared in anticipation of

 litigation.” (Doc. 853 at 2; Doc. 842 at 9). The Magistrate Judge’s Order, however, made clear that

 the Individual Defendants “specifically requested: customer interview recordings (Category 1);

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 notes, transcripts, and memoranda of customer interviews (Category 2); customer voicemails

 (Category 3); customer questionnaires and cover or inquiry letters (Category 4); and email

 communications between Plaintiffs and customers (Category 5).” (Doc. 842 at 12) (emphasis

 added). Those categories seek only the factual statements of customers.

          The Individual Defendants did not specifically seek information beyond those five

 categories. 1 (See Doc. 707 at 3). The Magistrate’s consideration and legal analysis relating to

 eleven categories reaches too far and obfuscates the Court’s opinion on the materials that the

 Individual Defendants specifically sought. Indeed, the additional categories of documents the

 Magistrate highlighted are facially distinct from the five categories that the Individual Defendants

 specifically sought. (See Doc. 842 at 8)((6) draft legal documents, (7) investigatory reports and

 memoranda, (8) legal research, notes and memoranda, (9) investigatory and customer-related

 information, (10) internal communications between Plaintiffs’ attorneys and investigators; (11)

 communications with Defendants’ former employees)). Those additional categories contemplate

 more than the mere “factual statements of alleged customers,” and may in fact rise to the level of

 opinion work product.

          The five categories of information specifically sought by the Individual Defendants—on

 the other hand—are purely factual. The Magistrate Judge’s finding to the contrary is clearly

 erroneous and contrary to law.




 1
   A fact which the Magistrate Judge acknowledged stating: (1) “[t]hough not specifically requested by
 Individual Defendants, in the interest of fairness, the Court continues with an analysis of [categories 6
 through 10],” and (2) “[l]astly, to communications with Defendants’ former employees (Category
 11), Individual Defendants again did not specifically request this information.” (Doc. 842 at 13).

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      IV.         Accordingly, the Magistrate Judge Did Not Apply the Appropriate Standard.

          Following the Magistrate Judge’s review of all the privileged documents the Plaintiffs

 gratuitously 2 produced, the Magistrate Judge further incorrectly found that all of the information

 Individual Defendants specifically sought was opinion work product. (Doc. 842 at 12-13). The

 Magistrate determined that the documents in the first five categories were “sprinkled with

 attorneys’ and investigators’ mental impressions regarding the case,” and that the additional

 categories (6 through 10) were “suffused” with the same or (regarding category 11) contained

 “summaries of witness interviews and are, thus, protected as work product.” (Id. at 12-13)

 (emphasis added).

            Those distinctions are critical because a “sprinkl[ing]” of work product or a one-off

 summary of an interview, is not the same as being inextricably intertwined with opinion work

 product throughout—such that the underlying facts cannot be revealed while purported opinion

 work product is protected through redaction. Fed. R. Civ. P. 26(b)(3)(B); see also (Doc. 707 at 8

 n. 12 (citing Alderman McQuenn, Inc. v. Stinchfield, No. 3:19-cv-3016-X, 2020 WL 7645435, at

 *7 (N.D. Tex. Dec. 22, 2020)). In fact, as Plaintiffs point out in their Response, Plaintiffs produced

 “141 documents comprising 435 pages of materials related to deceased victims” in response to the

 Magistrate’s Order requiring production of “communications with deceased victims, if any, to the

 extent those materials include factual information.” (Doc. 853 at 3; Doc. 842 at 16-17) (emphasis

 added). 3


 2
   The Magistrate Judge should have limited its review to those documents the Individual Defendants
 specifically placed at issue in their motion to compel. (See Doc. 815) (“Upon review of the parties’
 pleadings and the applicable case law, the Court concludes an in camera review of the documents at issue
 is warranted.”) (emphasis added); (see also Doc. 707 at 4-5) (a table representative of the specific
 documents sought by Individual Defendants).
 3
  In the interest of candor, the Individual Defendants incorrectly identified Alaska’s January 16, 2025,
 production as documents they received in response to the Magistrate’s Order (dated January 10, 2025). (See
 Doc. 846 at p. 7 n. 7, Ex. A; see also Doc. 853 at p. 7, n. 9). Coincidentally, however, the Individual
 Defendants’ error is indicative of the broader problem. While Alaska chose to produce that communication

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              The Magistrate Judge’s Order further permitted Plaintiffs “to redact privileged opinion

 work product where appropriate.” (Doc. 842 at 17). Tellingly, barely any of Plaintiffs’ production

 was redacted to protect purported “opinion work product.” In fact, the bulk of Plaintiffs’

 production—Maryland’s, which encompassed 111 of the 141 produced documents—included no

 redaction whatsoever. Out of the 141 documents produced, the handful that included redactions

 are perfect examples of how Plaintiffs can redact purported “opinion work product”—if any—and

 still provide the Individual Defendants the underlying facts to which they are entitled. See e.g., Ex

 A. 4 Indeed, the majority of the Plaintiffs compelled production makes apparent that the

 information withheld is at best fact work product—if work product at all. See e.g., Exs. B, C. 5

           Accordingly, the Magistrate Judge’s finding that all the withheld documents are opinion

 work product—requiring the Individual Defendants to meet the heightened standard of

 “compelling need” to warrant production—is clearly erroneous and contrary to law. (Doc. 842 at

 § III(A)(ii)).

         V.       The Individual Defendants have a Substantial Need for the Information that
                  Cannot be Obtained absent Undue Hardship.

              The Magistrate Judge erred as a matter of law by applying the wrong standard to the

 Individual Defendants’ requests for information. Because the Individual Defendants only seek the

 underlying facts, not opinion work product, Rule 26 sets forth the proper standard for overcoming

 Plaintiffs’ privilege assertion: “the party shows that it has a substantial need for the materials to




 without asserting work product protections, other states have refused to produce similar documents, and
 continue to argue they are subject to work product protections. (See Doc. 853 at p.8-9).
 4
   Plaintiff’s redactions are in black, the Individual Defendants provided additional redactions in red to
 protect the customer’s identifying information pursuant to this matter’s controlling protective order. The
 Individual Defendants will produce copies without their additional red redactions to the Court upon request.
 5
     As stated in note 4, supra, the Individual Defendants applied the red redactions.

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 prepare its case and cannot, without undue hardship, obtain their substantial equivalent by other

 means.” Fed. R. Civ. P. 26(b)(3)(A)(ii).

          Plaintiffs and the Magistrate Judge conflate the issue of substantial need with the concept

 of substantial equivalent. (Doc. 842 at 15-16; Doc. 853 at 6-7). The two are not interrelated or co-

 dependent. By Rule 26’s plain language, “substantial need” speaks only to the Individual

 Defendants need for that specific information. Id. “Substantial equivalent” refers to the party’s

 ability to obtain that information through other methods without undue hardship. Id. (emphasis

 added). Whether the Individual Defendants “prove that they can only obtain the material facts

 through the privileged materials Plaintiffs withhold” is of no moment. (Doc. 842 at 16)(emphasis

 in original). Indeed, requiring the Individual Defendants to prove that is their only avenue for

 obtaining the information is clearly erroneous and contrary to law. See e.g., Brady, 238 F.R.D. at

 443 (“[c]ourts may also factor-in unusual expense into their undue hardship analysis”).

          The Magistrate Judge’s Order also contradicts itself regarding the Individual Defendants’

 ability to obtain that information without undue hardship through other means. The

 Order acknowledges that the Plaintiffs did not produce a full list of potential witnesses until

 March 2024. (Doc. 842 at 3). The date of that production is incompatible with the Magistrate

 Judge’s further acknowledgement that discovery had closed earlier, on January 15, 2024.6

 That was preceded by a motion to compel on November 22, 2023—that was withdrawn by the

 Individual Defendants based on Plaintiffs’ assurances to resolve the issues therein that never

 came to fruition. Despite the discovery cutoff, the Magistrate found that “Individual Defendants

 present no evidence they would be able to ascertain the material facts through methods such as

 depositions or of their lack of financial and legal resources.” (Doc. 842 at 15-16).



 6
   To be clear, the parties ultimately negotiated an extension to the discovery deadline that fell later in 2024. However,
 the point remains that the Order’s reasoning is flawed.

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          In finding that the Individual Defendants have not made a “sufficient showing” regarding

 substantial need and undue hardship the Magistrate Judge also wholly ignores the record of this

 case—which is replete with oppressive litigation tactics. (Doc. 842 at 15). The most striking

 example is the entry of an ex parte receivership order that ultimately placed the Individual

 Defendants into personal receivership and locked up their finances for the majority of this

 litigation. (See Doc. 16).

          Still, if the Court finds those circumstances unavailing, the Individual Defendants issued

 subpoenas duces tecum to 126 of the witnesses perceived likely to have relevant and material

 information. Plaintiffs’ response was to file a motion to quash. (See Doc. 723). The Magistrate

 Judge granted it. (Doc. 842 at 18-19).

          The clear consequence of Plaintiffs’ tactics and the Magistrate Judge’s holding is to

 unfairly limit the Individual Defendants’ only permissible method to obtain the needed discovery.

 The Individual Defendants are limited to ten depositions absent leave of court, and the Plaintiffs

 continue to refuse to disclose which witnesses—out of well over a thousand “potential”

 witnesses—they intend to call at trial. (See Doc. 707 at 9 n. 14); see also e.g., Plaintiff State of

 Maryland, Ex Rel Maryland Securities Commissioner’s Responses and Objections to Defendant

 Simon Batashvili’s Third Set of Interrogatories:




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                                            SPECIFIC RESPONSES AND OBJECTIONS

                  INTERROGATORY NUMBER 10

                         Identify all witnesses you intend to call to the trial of this case.

                  RESPONSE TO INTERROGATORY NUMBER 10

                         Other than Plaintiffs' designated expert witness, Dana Samuelson, Plaintiff has not yet

                  detennined the witnesses it will call at trial. Plaintiff will provide such infonuation on or before

                  November 25, 2024, as required by the modified scheduling order. 1

                  Dated: March 29, 2024                              Respectfully submitted,

                                                                      By: Isl Max F. Brauer

                                                                     MAX F . BRAUER, pro hac vice



 What more could the Individual Defendants provide to establish that discovery of the withheld

 information represents an unusual expense and an undue hardship? Brady, 238 F.R.D. at

 443.

          Intended or not, the Magistrate Judge’s Order leaves the Individual Defendants subject to

 a Plaintiffs’ trial by ambush, which is clearly erroneous and contrary to law.

      VI.         The Proper Remedy is Plaintiffs’ Production of Redacted Documents.

          Furthermore, as referenced above, in their Motion to Compel, the Individual Defendants

 argued that “to the extent that these documents do contain attorney mental impressions, the

 appropriate course of action is to redact this information—not withhold the documents in their

 entirety.” (Doc. 707 at 8 n. 12). The Magistrate acknowledged as much in requiring production of

 documents from deceased witnesses subject to redaction. (Doc. 842 at 16). Therefore, because the

 withheld information includes the underlying facts—and the Individual Defendants cannot

 otherwise obtain the substantial equivalent that information without undue hardship—the Court

 should order Plaintiffs to produce those documents with redactions, if necessary.

          The Magistrate’s failure to compel Plaintiffs production subject to redaction is, therefore,

 clearly erroneous and contrary to law.


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                                                  ***

          In sum, the Magistrate’s Order is clearly erroneous and contrary to law in multiple regards.

 The Court can and should sustain the Individual Defendants’ Objection on any one or all of the

 grounds asserted in the points above.

                                           CONCLUSION

          For the foregoing reasons, in addition to those asserted in the Individual Defendants’

 Objection, (Doc. 846), this Court should sustain the Individual Defendants’ Objection to the Order

 and grant Individual Defendants’ Motion (Doc. 707) in its entirety, ordering Plaintiffs to turn over

 all documents withheld on the basis of privilege that contain factual statements of Customers,

 subject to appropriate redactions to protect any purported opinion work product therein.




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  DATED: February 26, 2025                  Respectfully submitted,

                                             GRAY REED

                                            BY: /s/ Drake Rayshell
                                            Chris Davis
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                                            Angela L. Brown
                                            State Bar No. 24034533
                                            Drake Rayshell
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                                            Tel: (214) 954-4135
                                            Fax: (214) 953-1335
                                            Email: cdavis@grayreed.com
                                            Email: abrown@grayreed.com
                                            Email: drayshell@grayreed.com
                                            Email: lengland@grayreed.com
                                            Email: rmccool@grayreed.com

                                            ATTORNEYS FOR DEFENDANTS LUCAS
                                            ASHER and SIMON BATASHVILI



                                CERTIFICATE OF SERVICE

          The undersigned hereby certifies that the above and foregoing instrument was
  electronically field with the Clerk of the court using the CM/ECF system on, which will send
  notification to the attorneys of record for all parties to this suit.


                                                   /s/ Drake Rayshell
                                                   Drake Rayshell




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                       EXHIBIT A
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                                                MEMORANDUM
                                             METALS.COM, EF-8933


         TO:           Defs' Redaction nforc.ement Attorney

                       Defs' Redaction
         FROM:                           Special Investigator

         DATE:          September 29, 2020

         SUBJECT:       Phone interview with investor Defs' Redaction

         CC:           Defs' Redaction




         RE:
         AD:
                Defs' Redaction                                                 INVESTED: $623 ,363.59



         PH:
         EM:
                Defs' Redaction
         On 07/ 10/2020, a letter was sent to persons believed to be investors in Metals.com, Chase Metals
         and/or Barrick Capital regarding their knowledge and involvement with the company; requesting
         they contact this office. After receiving no response from many of the persons who received the
         letters, I attempted to contact them by phone.

         On 09/ 10/2020, I called • · - • • • • at the number listed above and a man answered and
         identified himself as :: :::: : He indicated he was out on a bike ride and asked if I could call
         him back later. When 1 called back, 1:lliil l told me that he had recently retired as an American
         Airlines pilot and moved to Arizona about a year and a half ago. 1:IIJillltold me he had his
         retirement money tied up in an annuity at Prudential, which he did not like because there were
         too many rules and he was looking for something more flexible.

        1:lllffffllt:old me he had seen the ads for Metals.com on the internet while he was doing his
         research into IRA's he could move his money to that would allow him to invest more widely
         than what the annuity would allow. 1:fflllffllJtold me that he is knowledgeable about investing
         and had read up on all of the restrictions on his annuity and moving it before the termination date
         so he knew he would be taking a 'penalty hit ' to move his money to Metals .com, but that is what
         he wanted to do so he did it in about July of 2019. (actual date was 07/26/ 19).

        1:pp:ffflfecalled he moved his money to a company that Metals.com used, called Directed IRA
         Company (Directed IRA) and that is were his money is sitting to this day.    1:ffllilfflluld
                                                                                                    me that
         he was not particularly interested in purchasing any metals or coins at the time so he just moved
         his annuity over to the self-directed IRA and just left his money there until he decided what he




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         wanted to do '\Nith it later. I clarified wit:!:> 1:fflllfffilthat he had not autltorized or instructed
         auyoue from Met~ls.com to 1nuchase any type of metals on llis behalf through his IRA at.
         Directed ULA.. 1:fflllfflfflsaid no, he never told anyone to purchase any metals with his money and
         to his knowledge his mouey was still just sitting in his IRA.

         r asked1:1a1iffllif he had received any statements from Directed IRA showing the balance of his
         IRA. acc:ount and he said no, he had not: received anything so far. He did not know his .aeco:uut
         number for his lllA or the contac:t information for Directed IR.,.\ so r did provide that infonuation
         verbally to 1:§Blffi'1•.1d suggesl.ed he contact I.he C{)mpany and re.quest statements for his acc-mmt.
         so he could obt.ai.11 statements for his IRA account. 1:@MilffllJtold me he would do that and if he
         had any questions after he rec.eived thetrl.l:fflllffflfflagreed to call me back.

         End of call.




                                                       2
                                                                                                 ACC002990

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                       EXHIBIT B
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                                                      1:1:i•
                                                      -----
                                                         -
         On 06 April 2020 I called and spoke with-at Defs' Redaction I asked him if he has ever heard of
         a company called metals.com. He stated that he had not. I asked him if in Dec of 2017 he invested
         $19,899.75 into a company called Chase metals, now metals.com. He said that he did not. He said he
         had to go and hung up the phone on me. I located a purchase invoice with his name on it with New
         Direction Account fffl•@W I also located a precious metals Buy Direction letter from New Direction
         IRA Inc. with his name and phone number on it. I also located a shipping and transaction agreement
         with his name, phone number, address, and email on it. At this time he does not wish to speak with
         myself.




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                       EXHIBIT C
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      DFI Document Separator                                               Enforcement




       D AdvertisingMateria1s                         D Offering Mate1ia1B
       D -Bank Records                              · D Order Error Repott
      • D Btokerage Confurnations                     0 .Registration Materials
       D Brokerage Statements                         0 ·subscription Agreement •

       0 Business Card                                D Othe.t
       D Charter Documents
       0 Complaint FOilil                      CaseNo: _ _ __ _ _ _ __ _ __
                                               ( Case No.: S- 19-2725
       D Comjnnations                          t Case Name: metals.com
                                               ~ Source: Defs' Redaction
       0 Con1raets                             J Rec'd: 7/31 l
                                                 Oesc..
       D En-velope                             Received Date: - - - -- - -- -- -
       0 Exception Reports                     Docume.nt Date:    -------- --
       0 Fax
                                               Complaint YIN: Y N
       0 Letter                                Complaint Date: _ __ _ _ __ __
                                               Com.plain.ant _ __ __ _ _ _ __
       0 Mel'J'.IO:ran.dum                     Respondent _ __ __ _ _ _ _ __

       D New Account Statements
       0 Notification Of CJ.ahn Ofnxem_ption



      Version: 06/.13/2005




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                                                         STATE OF WASHINGTON
                                 DEPARTMENT OF FJNANCIAL INSTITUTIONS
                                                              SECURITIES OMSIOH
                                                  P. 0. Box 9033 • 0/ym{),'8, l<\<~f\111 985C7-0033
                             Tek~ (U/Jj9()2-87ti0 • TDD(300) 6M.Bl26 • FAX(J~ 002<0524 • Web&le. WWft,dR.wa.gwtsu

                                            Customer Questionnaire
                                      RE: DFI Jtile No. S~19~2725: Metllls.com

                The Washington State Securities Oivi.sion investigates p.ossible violations of the
        Washington State Securities Act We wmdd appreciate your help in completing this
        que'5tionnaire, so that we might detennine whether there have been any violations of the
        Securities Act by metals.com, Metals.com has also referred to itself as Chase Metals, LLC,
        and Chase Metals, Inc. When this questiortnaire refers to metals.com, we arc also referring
        to Chase Metals, LLC and Chase Metals, Inc.

                 When answering the questions, please be as specific and detailed as possible. Please
         return the completed questionnaire by August 2, 2()19 ln the enclosed, postage-paid envelope.
         You may attach additional pages if necessary. Please ind ude copies of any written materials
         that 'VU received re ~a.rdin • our investment If you have any questions. please conta.ct
                                              or Defs' Redaction dfi,wa,gov.

                                              Thank you for your time and assistance.


         Your name ..                                                                     Birth da!e

         Your address


                                                                                                        Defs' Redact1onDefs' Redaction
         Y out telephone nu                                                                           . Defs' Redact1onDefs' Redaction
                                                                                                      ' Defs' Redact1onDefs' Redaction

         Your e-maif address

         Your oce. upation                                                              ·-· · - - · - - - - - - - - -



         How was contact initiated between you and metals.com? When did this initial cont:.1ct occur?
         With whom did this contact occur?
            ~ Ci)v(ltA c±d. Cv~lli'.J S " C4 >~ ~ . J ~\\ A ~ W I~ -~ . Ct,V\11 v«~\
         ..11&.F -,,---·- - - - - - - - - - - - - - __ . . . . .- . ... . . . ._ . .. . . . .




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        What did the representatives of metals.com say to you during this initial contact?




        Did you act on any advice given during this initial contact? What was that advice? What did
        you do? When did you act on the advice? Please be specific about any investments that may
        have been affected by this advice.




        Was this advice personalized to account for the particular circumstances of your financial
        situation? Please circle one.

        Yes    No

        Did you provide for compensation of any kind for this advice? If so, how much compensation?
        To whom did you provide compensation?




        Did you have any additional contact with a representative of metals.com? Please circle one.

         Yes   No

        If you did not, you may skip the remaining questions. If you did, please answer the remaining
        questions.

        Who initiated this later contact? With whom from metals.com did you speak or otherwise
        communicate with in this later contact?




                                                        2



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        Did you act on any advice given during this later contact? What was that advice? What did you
        do? When did you act on the advice? Please be specific about any investments that may have
        been affected by this advice.
           ~ :+± WllS: C{ 5t,'I/Vl//.e       [(vvW!ff!:      tuY''\   C'\_ i/1.<11,,NV'J,"' +ill; 't;;;




        Was this advice personalized to account for the particular circumstances of your financial
        situation? Please circle one.



        Did you provide for compensation of any kind for this advice? If so, how much
        compensation? To whom did you provide compensation?
          l'J6




        Please provide the names of all persons affiliated with metals.corn who provided you advice.



        Did you purchase any precious metals because a representative of metals.corn advised you to
        do so?

        Yes   G~
        Did you receive the entire quantity of the precious metal(s) that you purchased? How many
        days after payment did you receive your metal(s)?

        Has anyone threatened to sue you because of your relationship with metals.com? Please
        circle one.

        YesG)



                                Thank you for completing this questionnaire.

                           Your response is an important part of our investigation.




                                                        3



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                                                                                                                                               0
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                       DEPARTMENT OF FINANCIAL INSTITUTIONS
Case 3:20-cv-02910-X




                       SECURITIES DIVISION
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